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                     IN THE UNITED STATES DISTRICT COURT
                IN AND FOR THE EASTERN DISTRICT OF NEW YORK

 LEONID TREYGER,                                      PLAINTIFF’S STATEMENT OF
                                                          MATERIAL FACTS
                                     Plaintiff,

                   -against-

 GIO WINE & SPIRITS CORP., GBA 526                       CASE NO.: 23-cv-2099-HG
 LLC,

                                  Defendants.



                                          PREAMBLE

       LEONID TREYGER (the “Plaintiff”), by and through his attorneys, in conjunction with

his Motion for Summary Judgment against Defendants GIO WINE & SPIRITS CORP. and GBA

526 LLC (“GBA”), in compliance with Local Rule 56.1 and Individual Practice Rules of Judge

Hector Gonzalez, contends that there is no genuine issue as to the below facts.

                            PLAINTIFF’S FACTUAL ALLEGATIONS

   1. Plaintiff has been diagnosed with multiple sclerosis by his treating neurologist. [Affidavit

       of Plaintiff Leonid Treyger (“APLT”), Exhibit 1, at ¶ 1]

   2. This neurological condition affects Plaintiff’s control of muscles in his legs. Plaintiff

       cannot balance well on his own two feet, has difficulty standing and cannot walk. [APLT,

       Exhibit 1, at ¶ 2]



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  3. Plaintiff’s neurologist prescribed him a motorized mobility scooter (“Motorized Scooter”).

     [APLT, Exhibit 1, at ¶ 3]

  4. Plaintiff uses his Motorized Scooter for mobility everywhere, including inside his

     apartment. [APLT, Exhibit 1, at ¶ 5]

  5. Plaintiff uses his Motorized Scooter every day for all activities requiring mobility. [APLT,

     Exhibit 1, at ¶ 6]

  6. For Plaintiff to enter a store, a ramp leading to its entrance must be properly sloped, its

     landings must be level, it must be sufficiently wide, its surface must not have cracks, holes

     or other hazards that can pose danger of catching the wheels of his Motorized Scooter,

     causing its tipping and his falling from it. [APLT, Exhibit 1, at ¶ 9]

  7. In May 2021 Plaintiff attempted to enter and shop inside of the store Gio Liquors, located

     at 48-01 108th Street, Corona, NY. [APLT, Exhibit 1, at ¶ 11]

  8. On May 20, 2021, Plaintiff attempted to enter and shop inside of the store Gio Liquors.

     [Exhibit 10]

  9. The store Gio Liquors has only one entrance. [APLT, Exhibit 1, at ¶ 12]

  10. There is a ramp leading to the store’s entrance. [APLT, Exhibit 1, at ¶ 13]

  11. That ramp reaches a height of at least 15 inches above the ground. [APLT, Exhibit 1, at ¶

     15]

  12. Other than by riding up the ramp, there is no way for Plaintiff to enter the store Gio Liquors.

     [APLT, Exhibit 1, at ¶ 16]

  13. In May 2021 Plaintiff wanted to make a purchase inside the store Gio Liquors. [APLT,

     Exhibit 1, at ¶ 38-39]




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  14. When Plaintiff started riding up the ramp, he realized that it was very steep and that it

     would be dangerous to continue riding all the way to its top. Plaintiff was afraid that his

     Motorized Scooter would tip over and fall backwards, causing him to suffer a serious and

     potentially fatal injury. [APLT, Exhibit 1, at ¶ 41]

  15. Having realized that he would not be able to enter the store by riding up the ramp, Plaintiff

     tried to find another entrance, which would be accessible to disabled people. [APLT,

     Exhibit 1, at ¶ 43]

  16. Plaintiff rode around the corner of the building, in which the store is located, onto 48th

     Avenue, to see whether there was another entrance to the store there. [APLT, Exhibit 1, at

     ¶ 44]

  17. Plaintiff realized that there is no other entrance to Gio Liquors on 48th Avenue. [APLT,

     Exhibit 1, at ¶ 45]

  18. Plaintiff then tried to see whether there was another entrance to the store on 108th Street.

     [APLT, Exhibit 1, at ¶ 46]

  19. Plaintiff realized that there was no other entrance to the store on 108th Street and that the

     only way to enter the store Gio Liquors was by riding up the ramp. [APLT, Exhibit 1, at ¶

     47]

  20. Plaintiff then tried to find a way to get attention of a store’s employee in hope of requesting

     that employee for assistance with buying what he wanted in the store. [APLT, Exhibit 1, at

     ¶ 48]

  21. There was no buzzer outside of the store, which Plaintiff would have been able to press to

     call attention of a store’s employee. [APLT, Exhibit 1, at ¶ 49]




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  22. Plaintiff also did not observe any other device located near the entrance to Gio Liquors,

     which would have allowed him to alert the store’s employee of his need for assistance.

     [APLT, Exhibit 1, at ¶ 50]

  23. Plaintiff then looked inside the store’s windows to see whether there were any instructions

     on how to alert a store’s employee. [APLT, Exhibit 1, at ¶ 51]

  24. There was no sign in Gio Liquors’ windows with instructions for disabled visitors on how

     to alert the store’s employee of their need for assistance. [APLT, Exhibit 1, at ¶ 52]

  25. Plaintiff then tried to find instructions on how to alert the store’s employee by looking for

     a sign on the walls of the building in which Gio Liquors is located. [APLT, Exhibit 1, at ¶

     53]

  26. Plaintiff realized that there was no sign with instructions on the store’s walls. [APLT,

     Exhibit 1, at ¶ 54]

  27. Not being able to enter the store by riding up its ramp to its only entrance, and not being

     able to alert the store’s employee of his need for assistance, Plaintiff realized that he would

     not be able to buy anything in the store without assistance. [APLT, Exhibit 1, at ¶ 55]

  28. Consequently, Plaintiff requested someone to purchase for him an item he wanted to buy

     at the store. [APLT, Exhibit 1, at ¶ 56]

  29. That person agreed to help Plaintiff and walked up the ramp leading to Gio Liquors’

     entrance, entered the store, bought the item Plaintiff wanted, obtained a receipt, exited the

     store, walked down the ramp, and gave both the item and the receipt to Plaintiff. [APLT,

     Exhibit 1, at ¶ 57]




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  30. Plaintiff intends to visit Gio Liquors again in the future when he visits Flushing Meadows

     Corona Park, purchase items offered for sale in it and enjoy its services as soon as the

     architectural barriers are removed. [APLT, Exhibit 1, at ¶ 65]

  31. Plaintiff cannot shop in the store Gio Liquors until the architectural barriers are removed,

     because he cannot enter it. [APLT, Exhibit 1, at ¶ 66]

              SUPPLEMENTAL AFFIDAVIT OF MARCIA ESQUENAZI

  32. On both August 20 and October 20, 2023, Plaintiff’s expert witness, architect Ms. Marcia

     Esquenazi examined the ramp, the sole entrance to the store Gio Liquors. [Supplemental

     Affidavit of Marcia Esquenazi, Architect, Plaintiff’s Expert Witness (“Architect’s Aff.”)

     Exhibit 2, at ¶ 4]

  33. The ramp has an intermediate landing platform that is at a height that ranges from 15 inches

     to 18 inches above the sidewalk. There is an upper landing at the store entrance door as

     well as a cross slope to the door, which adds 2 - 5 inches for a total of approximately 20

     inches above the sidewalk. From the sidewalk to the intermediate landing, the ramp is steep

     and dangerous, with a slope greater than 1:12, in violation of the ADA. [Architect’s Aff.,

     Exhibit 2, at ¶ 5]

  34. The intermediate landing has a slope of 8.4%, equivalent to 1:11, in violation of 1991

     Standards §4.8.2, 1991 Standards §4.8.4, and 2010 Standards §405.7.1. [Architect’s Aff.,

     Exhibit 2, at ¶ 18]

  35. The store’s ramp run, at certain points, has a slope of 27.3%, equivalent to 1:3.66, in

     violation of both 1991 Standards §4.8.2 and 2010 Standards Table §405.2. [Architect’s

     Aff., Exhibit 2, at ¶ 13]

  36. The ramp has no handrails. [Architect’s Aff., Exhibit 2, at ¶ 25]



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  37. There is no handrail extending beyond the bottom of the ramp, in violation of 1991

     Standards §4.8.5 and 2010 Standards §505.10.1. [Architect’s Aff., Exhibit 2, at ¶ 27]

  38. Approximately in 2001, there was a change in use of the commercial property located at

     the same address as Gio Liquors. A laundromat was converted into the present day liquor

     store. [Architect’s Aff., Exhibit 2, at ¶ 31]

  39. Between 2001 – 2013 there were modifications/alterations to Gio Liquors. Floor to ceiling

     security partitions, bullet proof glass doors, counters and shelves were installed.

     [Architect’s Aff., Exhibit 2, at ¶ 31]

  40. Remediation of ADA violations may be accomplished by addition of metal handrails to the

     ramp at a cost of approximately $1,800. [Architect’s Aff., Exhibit 2, at ¶ 32]

  41. The ramp’s slope can be reduced to less than 8.4%. That can be accomplished by the

     addition of concrete and scarification of the existing ramp and landing. Construction is

     expected to be completed within two days and cost approximately $2,000. [Architect’s

     Aff., Exhibit 2, at ¶ 33]

  42. The cost of construction of an ADA-compliant ramp, as depicted in the architectural

     drawings, would cost approximately $8,900. [Architect’s Aff., Exhibit 2, at ¶ 34]

        SECOND SUPPLEMENTAL AFFIDAVIT OF MARCIA ESQUENAZI

  43. To make the path of travel to the front entrance door of the store Gio Liquors, located at

     48-01 108th Street, Corona, NY, more accessible for people with disabilities, an electrical

     door assist may be installed, as specified in the 2022 NYC Department of Buildings

     (“DOB”) Code §1101.5.8 entitled Automatic Doors. [Second Supplemental Affidavit of

     Marcia Esquenazi, Architect, Plaintiff’s Expert Witness (“Architect’s Aff. 2”) Exhibit 9,

     at ¶ 1]



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  44. An electric door assist opens a door in the ingress and egress by electric power, by means

     of a user pressing on a door button. Through use of electric door assist it is possible to both

     bypass necessity of doing construction to change the configuration of the front entrance

     door and to bypass the necessity to comply with the clearance requirements of 18 inches

     and 24 inches of the latch side of the door. See 2022 NYC Dept of Buildings Code §

     1101.5.8 Automatic Doors. The cost of an electric door assist is approximately $400.

     [Architect’s Aff. 2, Exhibit 9, at ¶ 2]

  45. The existing ramp is steep. It has a slope ratio of approximately 1:6, in violation of the

     ADA Guidelines and both the NY State Building Code and the NYC Building Code. The

     steepness of the existing ramp at a slope ratio of 1:6 is dangerous to both able bodied and

     disabled individuals. [Architect’s Aff. 2, Exhibit 9, at ¶ 3]

  46. The City of New York Mayor’s Office of People with Disabilities, the DOB, and the NYC

     Department of Transportation (“DOT”) recognize through review of field conditions and

     by providing application process for waivers of code requirements it is possible to install

     ramps that are compliant with the ADA Guidelines and city agency codes. [Architect’s Aff.

     2, Exhibit 9, at ¶ 4]

  47. Mr. Demetry fails to disclose information regarding existence of additional DOB Code

     provisions that outline how The City of New York Mayor’s Office of People with

     Disabilities, the DOB, and DOT have addressed and implemented rules and regulations to

     maximize the ability to install sidewalk ramps to accommodate people with disabilities and

     to accommodate site conditions requiring waivers. 2022 NYC Building Code § 3202.2.2.1

     Ramps makes reference to Chapter 11 of the Code. Mr. Demetry fails to mention that §

     1101.3.5 of the Building Code describes special provisions for waiver of Code



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     requirements that allows for approval of construction of the proposed ramp and §

     1101.3.5.1 describes the application process. § 1101.3.5.2 describes waiver of

     recommendations. § 1101.4 is regarding alterations affecting area of primary functions.

     [Architect’s Aff. 2, Exhibit 9, at ¶ 6]

  48. After construction of the proposed ramp on 108th Street and on 48th Avenue there will be

     sufficient clear width distances of 13 feet and ten feet, respectively, on the sidewalks for

     pedestrian traffic that complies with the requirements set forth by the DOT. According to

     the DOT Street Design Manual, sufficient clear width sidewalk distances are met at eight

     feet or at a distance that is half the distance from the building property line to the curb. On

     108th Street there is 18 feet of distance from the property line to the curb, making half the

     distance nine feet which is greater than eight feet. On 48th Avenue there is 15 feet of

     distance from the property line to the curb, making eight feet greater than half the distance,

     7.5 feet. After construction of the proposed ramp with a 43” x 60” landings, or after its

     construction with 60” x 60” landings, on 48th Avenue there will be at least ten feet of

     sidewalk space for pedestrians from the building line to the curb. On 108th Street there will

     be at least 13 feet of sidewalk space for pedestrians from the building line to the curb.

     [Architect’s Aff. 2, Exhibit 9, at ¶ 7]

  49. These clear width distances on the sidewalk satisfy both the DOB and DOT requirements

     and present no impediment to approval of the construction of the proposed ramp.

     [Architect’s Aff. 2, Exhibit 9, at ¶ 8]

  50. The proposed ramp meets the criteria required by the DOB and the DOT to consider a

     waiver to allow construction of the proposed ramp based upon the existing dimensions of

     the sidewalk. [Architect’s Aff. 2, Exhibit 9, at ¶ 9]



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                            AFFIDAVIT OF VAL DOBROVA

  51. General contractor Val Dobrova both reviewed and relied upon the ramp dimensions

     specified in the architectural drawings of the architect, Marcia Esquenazi, for the building

     of a ramp leading to the entrance of the store Gio Liquors. [Affidavit of Val Dobrova,

     General Contractor, Plaintiff’s Expert Witness (“General Contractor’s Aff.”) Exhibit 3, at

     ¶ 3]

  52. Completion of this project will take three business days and involve two workers. [General

     Contractor’s Aff., Exhibit 3, at ¶ 4]

  53. Construction of the ramp will cost $13,200. [General Contractor’s Aff., Exhibit 3, at ¶ 5]

                     AFFIDAVIT OF ACCOUNTANT ALINA RITS

  54. Ms. Alina Rits, C.P.A., reviewed IRS Form 8826 and researched the IRS Disabled Access

     Credit tax credit in connection with remediation of violations of the ADA. [Affidavit of

     Alina Rits, C.P.A., Plaintiff’s Expert Witness (“CPA’s Aff.”) Exhibit 4, at ¶ 11]

  55. If a store owner or building owner spends $13,700 to remediate the ADA violations and

     then applies for and is granted the IRS Form 8826 Disabled Access Credit Tax Credit, then

     that entity will effectively spend $8,700 dollars on such remediation with the benefit of this

     tax credit. [CPA’s Aff., Exhibit 4, at ¶ 12]

 DEPOSITION AND REPORT OF DEFENDANT GBA’S EXPERT WITNESS HANY

                                         DEMETRY

  56. On December 29, 2023, GBA’s expert witness, Mr. Hany Demetry of Sotir Associates, an

     NYS Registered Architect, provided sworn testimony at a deposition conducted by Mr.

     Daniel Berke, Esq., Plaintiff’s attorney.




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   57. Mr. Demetry has 8.5 years of architectural experience. [Deposition of Mr. Hany Demetry,

      Architect, GBA’s Expert Witness (“Demetry’s Dep.”) Exhibit 5, Page 32, Lines (“L.”) 4 –

      8]

   58. On November 7, Mr. Demetry conducted a site inspection of Gio Liquors. [Demetry’s

      Dep., Exhibit 5, p. 16, L. 11 – 18]

   59. During his site inspection, Mr. Demetry examined the store’s ramp (“Ramp”), which in his

      own words, provides the “only path of travel to the store.” [Demetry’s Dep., Exhibit 5, p.

      219, L. 16 – 21]

   60. Mr. Demetry testified that under the 1991 and 2010 ADA Standards for Accessible Design

      Title III Regulations (“ADA Guidelines”) the running slope of an exterior store ramp

      should have a ratio of 1:12. [Demetry’s Dep., Exhibit 5, p. 114, L. 4 – 7]

   61. Mr. Demetry testified that the Ramp does not comply with the ADA Guidelines, because

      its “slope is too steep” and it is “almost double what the ADA recommends, with a slope

      ratio of almost 1:6.” [Demetry’s Dep., Exhibit 5, p. 114, L. 21 – 24]

   62. Mr. Demetry testified that the Ramp does not comply with the ADA Guidelines because

      “it’s missing a handrail”, as well as because the Ramp’s landing is neither flat nor level

      and has different heights ranging “between 15 and 16 inches and up to 18 inches.”

      [Demetry’s Dep., Exhibit 5, p. 120, L. 17 – 25; p. 121, L. 2 – 9]

   63. Mr. Demetry testified that the Ramp is unsafe and does not comply with the ADA

      Guidelines because it poses a safety risk that a wheelchair user “may fall backwards”, “hit

      their head” and “hurt themselves.” [Demetry’s Dep., Exhibit 5, p. 112, L. 9 – 12; p. 114,

      L. 4 – 25; p. 116, L. 2 – 20]




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   64. Mr. Demetry testified that walking down the Ramp is “too steep” and “not safe” for people

      using walkers, because “they’re being pulled down by gravity.” [Demetry’s Dep., Exhibit

      5, p. 116, L. 21 – 25; p. 117, L. 2 – 12]

   65. Mr. Demetry testified that the Ramp does not comply with the ADA Guidelines because it

      is missing a curved handrail at the bottom, which is a “safety addition” for people with “a

      sight disability.” [Demetry’s Dep., Exhibit 5, p. 136, L. 7 – 23]

   66. Mr. Demetry testified that there is a “problem of not having clearance” by the door, in

      violation of the ADA Guidelines; “the door should not push in” and “should push out of

      the store.” [Demetry’s Dep., Exhibit 5, p. 122, L. 15 – 25; p. 123, L. 2 – 24]

   67. Mr. Demetry testified that to resolve the problems of insufficient door clearance,

      installation of an “electronic push button, and the door open[ing] like a door assist” “could

      solve the problem of not having clearance by the door.” [Demetry’s Dep., Exhibit 5, p.

      124, L. 7 – 20]

   68. Mr. Demetry testified that it is “an important goal to make this ramp more safe” by making

      it “less steep.” [Demetry’s Dep., Exhibit 5, p. 126, L. 12 – 25, p. 127, L. 2 – 3]

   69. Mr. Demetry testified that it is an important goal to make the Ramp “more safe” by adding

      a handrail and by making the landing “closer to level” to avoid “causing physical bodily

      harm” to individuals. [Demetry’s Dep., Exhibit 5, p. 127, L. 4 – 7; p. 125, L. 16 – 25; p.

      127, L. 2 – 7]

   70. Mr. Demetry does not know the date of construction of the Ramp. [Demetry’s Dep., Exhibit

      5, p. 118, L. 7 – 10]

   71. Mr. Demetry testified that on July 24, 2012, the NYC Department of Buildings (“DOB”)

      approved an application for “Alteration Type 2” construction work at the store Gio Liquors



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      under Job # 420596778 regarding store alterations, which involved the addition of floor to

      ceiling security partitions, an HVAC unit, and a bulletproof glass door. [Demetry’s Dep.,

      Exhibit 5, p. 190, L. 25; p. 191, L. 2 – 25; p. 192, L. 2 – 25; p. 193, L. 2 – 25; p. 194, L. 2

      – 12, p. 218, L. 17 – 25; p. 219, L. 2 – 11]

   72. Mr. Demetry testified that the DOB considers the date of completion of construction work

      as the date “it is signed off” by the DOB. [Demetry’s Dep., Exhibit 5, p. 209, L. 17 – 25]

   73. Mr. Demetry testified that the application for store’s alterations was approved by the DOB

      on July 24, 2012, and was finally “signed off” as completed by the DOB on May 21, 2013.

      [Demetry’s Dep., Exhibit 5, p. 205, L. 7 – 19]

   74. Mr. Demetry testified that according to the ADA Guidelines “the date of an alteration is

      the last date that it was approved by a local building department.” [Demetry’s Dep., Exhibit

      5, p. 227, L. 3 – 9]

   75. During Mr. Demetry’s site inspection on November 7, 2023, he visually observed the

      store’s floor to ceiling security partitions and bulletproof glass door as listed in the DOB

      application approved on July 24, 2012. [Demetry’s Dep., Exhibit 5, p. 193, L. 2 – 25; p.

      194, L. 2 – 12]

   76. Mr. Demetry testified that the floor to ceiling security partitions changed the store’s useable

      space “by blocking off customer’s access” to the space on the other side of the partitions,

      where “most of the space is devoted to the sales personnel and the storage of liquor behind

      the partitions.” [Demetry’s Dep., Exhibit 5, p. 198, L. 22 – 25; p. 199, L. 2 – 25; p. 200, L.

      2 – 19]

   77. Mr. Demetry testified that the floor to ceiling security partitions “changed the selling space

      of the store” with “more than 60% of the space … devoted to the storage of liquor and the



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      sales personnel behind the partitions" and 40% of the store being useable by customers.

      [Demetry’s Dep., Exhibit 5, p. 194 – 200]

   78. Mr. Demetry testified that he reviewed an index card from the New York City Housing

      Preservation and Development from 1938, which indicated that the store was previously

      an open layout from 1938 until its alteration in 2001 – 2013. He also testified that due to

      the alterations, usable space for customers was closed off, resulting in approximately 60%

      of the store space being inaccessible to customers and leaving approximately 40% of the

      store space useable by customers. [Demetry’s Dep., Exhibit 5, p. 198, L. 22 – 25; p. 199,

      L. 2 – 25; p. 200, L. 2 – 19; p. 201, L. 12 – 25; p. 202, L. 2 – 25; p. 203, L. 2 – 25; p. 204,

      L. 2 – 6]

   79. Mr. Demetry testified that a liquor store’s sales area is a “primary function area,” as defined

      by § 202.4 of the 2010 ADA Guidelines. [Demetry’s Dep., Exhibit 5, p. 206, L. 4 – 25; p.

      207, L. 2 – 25; p. 208, L. 2 – 17]

   80. Mr. Demetry testified that it is an alteration to a store if the alteration of floor to ceiling

      security partitions cuts off approximately 40% of the store space accessible to customers,

      changes its selling space, and “changes the behavior of the clients inside the store.”

      [Demetry’s Dep., Exhibit 5, p. 195, L. 2 – 25]

   81. Mr. Demetry testified that the Ramp is the “only path of travel to the store.” [Demetry’s

      Dep., Exhibit 5, p. 219, L. 16 – 21]

   82. Mr. Demetry testified that the overall cost of the alterations in the store, that were “signed

      off”, i.e. completed, in 2013, was $48,690. [Demetry’s Dep., Exhibit 5, p. 222, L. 13 – 22]

   83. Mr. Demetry testified that by his calculation 20% of the overall cost of the alterations in

      the store of $48,690 equals $9,738. [Demetry’s Dep., Exhibit 5, p. 224, L. 2 – 7]



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   84. Mr. Demetry reviewed both the architectural drawings of the Ramp and of the proposed

      ramp (“Proposed Ramp”) made by Plaintiff’s expert witness, Ms. Marcia Esquenazi, an

      architect licensed in the State of New York. [Demetry’s Dep., Exhibit 5, p. 44, L. 16 – 23]

   85. The Proposed Ramp has handrails on the running slope, a curved handrail at the bottom,

      and two level and flat landings; its running slope is 1:12. [Demetry’s Dep., Exhibit 5, p.

      136, L. 7 – 10; p. 143, L. 6 – 19]

   86. Mr. Demetry acknowledged that the Proposed Ramp is safer than the Ramp because it “has

      a landing that is flat and level.” [Demetry’s Dep., Exhibit 5, p. 143, L. 10 – 25; p. 144, L.

      2 – 3]

   87. Mr. Demetry acknowledged that the Proposed Ramp is safer than the Ramp because it “has

      a handrail.” [Demetry’s Dep., Exhibit 5, p. 143, L. 2 – 22]

   88. Mr. Demetry acknowledged that the Proposed Ramp is safer than the Ramp because it

      changes “the existing steepness of the slope, which is almost double what the ADA

      regulations state, to something that’s closer to 1:12,” the ramp slope ratio specified in the

      ADA Guidelines. [Demetry’s Dep., Exhibit 5, p. 134, L. 2 – 12, 17 – 24; p. 133, L. 9 – 25]

   89. Mr. Demetry testified that the Proposed Ramp is safer than the Ramp because it contains a

      curved handrail which “is a safety addition” for people with “a sight disability.” [Demetry’s

      Dep., Exhibit 5, p. 136, L. 7 – 23]

   90. Mr. Demetry does not dispute that the cost of adding handrails to the Ramp will be $1,800,

      the same amount as estimated by Ms. Esquenazi. [Demetry’s Dep., Exhibit 5, p. 114, L. 21

      – 24]




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   91. Mr. Demetry does not dispute that the cost of making the Ramp’s landing flat and level

      will be $2,000, the same amount as estimated by Ms. Esquenazi. [Demetry’s Dep., Exhibit

      5, p. 114, L. 21 – 24]

   92. Mr. Demetry does not dispute that the cost of building and installing the Proposed Ramp

      will be $8,900, the same amount as estimated by Ms. Esquenazi. [Demetry’s Dep., Exhibit

      5, p. 114, L. 21 – 24]

   93. Mr. Demetry agreed that “if $9,600 is spent to make the path of travel accessible, and that

      is less than 20 percent, that makes it 20 percent or less of the total cost that was spent on

      these [store] alterations.” [Demetry’s Dep., Exhibit 5, p. 224, L. 15 – 20]

   94. Mr. Demetry testified that it was not his role as GBA’s expert witness to “give a rundown

      of the process” of how the DOB and the DOT would approve the Proposed Ramp, stating

      as follows, “I’m not the applicant on this. I’m not going to give a rundown of the process

      how to get this approved. I’m not hired to file for it.” [Demetry’s Dep., Exhibit 5, p. 166,

      L. 20 – 25; p. 167, L. 2 – 16]

   95. Mr. Demetry testified that, in his expert report, he omitted stating the information that there

      is a formal application process, which permits the DOB and DOT to grant a waiver,

      approval, and recommendation for construction of the Proposed Ramp. 2022 NYC

      Building Code § 1101.3.5 and § 1012.6; [Demetry’s Dep., Exhibit 5, p. 166, L. 16 – 25; p.

      167, L. 2 – 9; p. 170, L. 20 – 25; p. 171, L. 2 – 12; p. 175, L. 5 – 25; p. 176, L. 2 – 24]

   96. Mr. Demetry testified that, in his expert report, he omitted stating that there are DOB code

      sections that specify application process to obtain approval for construction of the Proposed

      Ramp, including § 1101.3.5 regarding waivers for ramps and landings that encroach on




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      sidewalks and § 1012.6 concerning ramp landings. See 2022 NYC Department of Building

      Code § 1101.3.5 and § 1012.6. [Demetry’s Dep., Exhibit 5, p. 176, L. 2 – 24]

   97. Mr. Demetry testified that in his expert report he did not include the information that there

      exists an application process for a waiver of the DOB and the DOT rules and regulations

      and that by such a waiver these city agencies may approve construction of the Proposed

      Ramp, because he was “not listing a roadmap how to approve this proposed ramp. That’s

      not what I was discussing. What I was looking at for the ramp, it’s not my application to

      approve.” [Demetry’s Dep., Exhibit 5, p. 166, L. 16 – 25; p. 167, L. 2 – 9; p. 170, L. 20 –

      25; p. 171, L. 2 – 12]

   98. Mr. Demetry’s expert report states that his firm “Sotir was further retained to proactively

      recommend proposals for removing architectural barriers that allegedly exist at the

      Premises, so as to satisfy applicable ADA regulations, and to determine the feasibility of

      implementing such proposals. Sotir’s findings are published in the instant report.”

      (emphasis added) [Sotir Report, Exhibit 6, p. 1, ¶ 3]

   99. When asked to explain § 202.4 of the 2010 ADA Guidelines, regarding a path of travel that

      is “readily accessible and usable by individuals with disabilities to the maximum extent

      feasible,” Mr. Demetry testified as follows: “to the maximum extent feasible, if it’s – if it’s

      possible. The maximum – if there’s a possibility of making this ADA accessible route, then

      it has to be done” and “it’s determined by the cost of the job compared to the value of the

      construction of the building.” [Demetry’s Dep., Exhibit 5, p. 217, L. 22 – 25; p. 218, L. 2

      – 12]




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   100.       Mr. Demetry testified that the Proposed Ramp is 44 inches wide and that it projects

      44 inches from the building’s property line on the sidewalks of 108th Street and on 48th

      Avenue. [Demetry’s Dep., Exhibit 5, p. 72, L. 8 – 12]

   101.       Mr. Demetry testified that he agreed that the 2022 NYC DOB Code § 3201.9

      permits “any encroachments on public right of way that exceeds the limitation provided

      for in this Chapter shall require the approval of the DOT” and provides for an application

      and approval process for construction of the Proposed Ramp. 2022 NYC Department of

      Building Code § 3201.9. [Demetry’s Dep., Exhibit 5, p. 174, L. 17 – 25; p. 175, L. 2 – 4;]

   102.       Mr. Demetry testified that 2022 NYC DOB Code § 1101.3.5 allows construction

      of a ramp more than 44 inches from a building’s property line. [Demetry’s Dep., Exhibit

      5, p. 74, L. 11 – 25; p. 75, L. 2 – 8]

   103.       Mr. Demetry testified that the DOB and NYC Department of Transportation

      (“DOT”) will recommend and approve construction of the Proposed Ramp if there is

      sufficient space for pedestrian traffic on the sidewalk. [Demetry’s Dep., Exhibit 5, p. 71,

      L. 6 – 25; p. 72, L. 2]

   104.       Mr. Demetry testified that he is aware that there exists the DOT Street Design

      Manual that states that clear width space for pedestrian traffic on a sidewalk should be

      eight feet wide or the width of half the distance from a building’s property line to the curb,

      whichever is greater. [Demetry’s Dep., Exhibit 5, p. 70, L. 9 – 25; p. 162, L. 11 – 19; p.

      182, L. 9 – 25; p. 183, L. 2 – 8]

   105.       Mr. Demetry testified that for the DOB and DOT to make their determination to

      approve construction of the Proposed Ramp, it is important for the city agencies to have




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      measurements of distances from the property line to the curb on 108th Street and 48th

      Avenue. [Demetry’s Dep., Exhibit 5, p. 75, L. 9 – 21]

   106.      Mr. Demetry testified that neither during his inspection of the store, nor at any other

      time, did he measure the distances from the property line to the curb on 108th Street and

      48th Avenue, and that he does not know what they are. [Demetry’s Dep., Exhibit 5, p. 75,

      L. 22 – 25; p. 76, L. 2 – 9]

   107.      Mr. Demetry testified that he accepts the measurements recorded by Plaintiff’s

      expert Marcia Esquenazi, who measured the property line to the curb on 108th Street and

      determined it to be 18, with nine feet being one half of that distance. [Demetry’s Dep.,

      Exhibit 5, p. 180, L. 11 – 15]

   108.       Mr. Demetry testified that he accepts as accurate the measurements recorded by

      Plaintiff’s expert, Ms. Marcia Esquenazi, who measured the property line to the curb on

      48th Avenue and determined the distance to be 15 feet, with 7.5 feet being one

      half. [Demetry’s Dep., Exhibit 5, p. 180, L. 6 – 10]

   109.      Mr. Demetry testified that he does not dispute the conclusion that if the landings of

      the Proposed Ramp have dimensions of 44 inches in width by 60 inches in length, or 60”

      x 60,” then there would be clear width distance for pedestrian traffic on the sidewalk of

      108th Street of at least 13 feet and that there would be a clear width distance for pedestrian

      traffic of at least ten feet on the sidewalk of 48th Avenue. [Demetry’s Dep., Exhibit 5, p.

      180, L. 18 – 25; p. 181, L. 2 – 25; p. 182, L. 2 – 8]

   110.      Mr. Demetry testified that the DOB and DOT will approve construction of the

      Proposed Ramp if the ramp landings are changed to dimensions of 60” x 60”; He also

      testified that these city agencies will approve the ramp if they “make a determination” that



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      there exists sufficient space on the sidewalk for pedestrian traffic and that “they may be

      approved, but not as of right.” [Demetry’s Dep., Exhibit 5, p. 58, L. 21 – 25; p. 64, L. 2 –

      25]

   111.      Mr. Demetry testified that constructing the proposed ramp does not require the

      removal of a structural barrier. [Demetry’s Dep., Exhibit 5, p. 234, L. 15 – 25; p. 235, L. 1

      – 5]

   112.      Mr. Demetry testified that he did not include in his report all the applicable 2002

      NYC DOB Code rules and regulations that explain how an applicant can obtain approvals

      for construction of a proposed ramp from the DOT and the DOB. He also testified that he

      did not include in his report DOB § 1101.3.5, § 1012.6, and § 3201.9, because his goal was

      not to obtain an approval. He said “that wasn’t what I’m trying to accomplish.” [Demetry’s

      Dep., Exhibit 5, p. 176, L. 2 – 25; p. 177, L. 2 – 25; p. 178, L. 2 – 9]

   113.      Mr. Demetry testified that the DOB and DOT may approve construction of the

      Proposed Ramp with ramp landings of 44” x 60”, if one will “go to court, get approval

      from a [federal] judge that you can do a 44” x 60” [inches of landing] and then come back

      to us [DOB] so we will give you variances from our own code” in order to build the

      Proposed Ramp, a safer ramp with a less steep slope. [Demetry’s Dep., Exhibit 5, p. 150,

      L. 17 – 25; p. 151, L. 2 – 25; p. 152, L. 2 – 25; p. 153, L. 2 – 25]

   114.      Mr. Demetry testified that if “a federal court [is] giving the okay to modify this

      dimension to 44 inches by 60” inches then the DOB may approve construction of the

      Proposed Ramp. [Demetry’s Dep., Exhibit 5, p. 230, L. 9 – 25, p. 231, L. 2 – 25; p. 232,

      L. 2 – 7]




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   115.       Mr. Demetry testified that grant of approval for the Proposed Ramp’s landing

      dimensions of 44” x 60” “is not a safety issue” and only involves an issue of “does a

      wheelchair user have sufficient legroom” and whether a 30” wheelchair can maneuver

      within a 44” landing. [Demetry’s Dep., Exhibit 5, p. 140, L. 3 – 25; p. 141, L. 2 – 4; p.

      145, L. 9 – 14]

   116.       Mr. Demetry testified that an average wheelchair with a width of thirty 30” “may

      maneuver within a 44” wide landing” and that it is not the same level of importance

      compared to a safety issue of having no handrails and a very steep slope that is “twice as

      steep” as recommended by the ADA Guidelines. [Demetry’s Dep., Exhibit 5, p. 145, L. 3

      – 19]

   117.       Mr. Demetry testified that his primary objection with the Proposed Ramp is that it

      would not completely prevent and defeat future lawsuits against GBA if the landing is not

      60” x 60”. He said “so ten years from now, five years from now, someone else could come

      in and pick up those measurement [sic] and then sue the store again for having an – a less-

      than-compliant ADA-compliant ramp. Same case. We didn't accomplish anything.”

      [Demetry’s Dep., Exhibit 5, p. 142, L. 11 – 25]

   118.       Mr. Demetry testified that odds would increase and “chances go up and improve”

      that the DOB would approve construction of the Proposed Ramp if the ramp landings are

      changed from 44” x 60” to 60” x 60”. [Demetry’s Dep., Exhibit 5, p. 150, L. 17 – 25; p.

      151, L. 2 – 25; p. 152, L. 2 – 25; p. 153, L. 2 – 25 ]

   119.       Mr. Demetry testified that “to maximum extent feasible” means strict 100%

      compliance with ADA Guidelines. There was the following exchange during the

      deposition: “So to make something readily accessible to the maximum extent feasible,



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      would you agree that means it doesn't have to be 100 percent compliance, but something a

      little less can still be to the maximum extent feasible? A. No.” [Demetry’s Dep., Exhibit 5,

      p. 242, L. 9 – 15]

   120.      Mr. Demetry testified that he does not have sufficient expertise with providing a

      submission to the DOT on issues of “sidewalk traffic capacity.” He said “I cannot answer

      definite answers on how to do a traffic analysis on sidewalks” for the DOT. [Demetry’s

      Dep., Exhibit 5, p. 62, L. 2 – 25; p. 63, L. 2 – 8]

   121.      When asked whether the DOB and the DOT would approve the Proposed Ramp,

      Mr. Demetry said that “I really don't know because we did not go this far with wrapping a

      ramp around any corner building,” referring to his experience with his architectural firm

      Sotir Associates. [Demetry’s Dep., Exhibit 5, p. 231, L. 17 – 25; p. 232, L. 2 – 25; p. 233,

      L. 2 – 16]

   122.      Mr. Demetry testified that he does not have real world experience and neither does

      his firm Sotir & Associates “has real world experience of going through the process of

      trying to get a proposed ramp, a ramp that wraps around the corner, to be approved – or

      recommended by the Department of Transportation or approved by the New York City

      Department of Buildings.” [Demetry’s Dep., Exhibit 5, p. 236, L. 4 – 12]

   123.      Mr. Demetry was unable to identify prior instances of his “real world” experience

      that serve as factual support for his prediction that DOB and DOT would not approve

      construction of the Proposed Ramp. [Demetry’s Dep., Exhibit 5, p. 236, L. 4 – 25; p. 237,

      L. 2 – 25; p. 238, L. 2 - 25]

   124.      Mr. Demetry testified that in the past he had experience with submitting

      applications for waivers to the DOT, which involved fences, not ramps. He stated that the



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      DOT approved his requests “4 out of 5 times,” and possibly the fifth request was delayed

      and eventually approved. [Demetry’s Dep., Exhibit 5, p. 239, L. 7 – 25]

   125.       Mr. Demetry testified that he requested a variance from the DOB at least 20 times.

      He stated “I would say it’s a 99-percent success” rate. [Demetry’s Dep., Exhibit 5, p. 240,

      L. 8 – 25]

  DEPOSITION AND REPORT OF GIOVANNI GUTIERREZ, PRINCIPAL OF GIO

                                    WINE & SPIRITS CORP.

   126.       Giovanni Gutierrez was the sole owner of Gio Wine & Spirits Corp. (“Gio”) since

      2007. [Deposition of Mr. Giovanni Gutierrez, sole owner of Gio (“Gutierrez’s Dep.”)

      Exhibit 7, p. 10, L. 3 – 9]

   127.       Since 2007 Gio operated a liquor store, located at 48-01 108th Street, Corona NY.

      [Gutierrez’s Dep., Exhibit 7, p. 10, L. 15 – 17]

   128.       Since 2007 Gio leased the store from Cesar Carbajal, an individual who at the time

      owned the building located at 48-01 108th Street, Corona NY. Exhibit 8, Leases from Cesar

      Carbajal to Gio Wine & Spirits Corp. dated June 1, 2007, and July 1, 2017.

   129.       Since 2007, when Gio first leased the store, there was the same ramp as now,

      located in front of the store; it leads to the store’s entrance door. [Gutierrez’s Dep., Exhibit

      7, p. 16, L. 6 – 11]

   130.       Prior to 2007, there was a different liquor store operating at the present location,

      48-01 108th Street, Corona, NY, named Cesar’s Liquors. It was owned by Cesar Carbajal,

      the building’s owner. Prior to Cesar’s Liquors, there was a laundromat operating at the

      same location. [Gutierrez’s Dep., Exhibit 7, p. 11, L. 2 – 25; p. 12, L. 2 – 8]




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   131.        The basement walls of Gio Liquors consist of concrete pillars and concrete walls.

       [Gutierrez’s Dep., Exhibit 7, p. 19, L. 1 – 10; p. 20, L. 3 – 16]

   132.        Gio does not keep records of its sales of liquor. [Gutierrez’s Dep., Exhibit 7, p. 28,

       L. 15 – 23; p. 29, L. 7 – 10]

   133.        Giovanni Gutierrez testified that his accountant has records of Gio’s sales. Mr.

       Giovanni Gutierrez also testified that he only knows the accountant’s first name, Javier.

       He testified that he does not know his last name and address. [Gutierrez’s Dep., Exhibit 7,

       p. 39, L. 2 – 25; p. 40, L. 1 – 6]

   134.        Giovanni Gutierrez testified that it is not his responsibility to investigate the Ramp.

       [Gutierrez’s Dep., Exhibit 7, p. 55, L. 7 – 23]

   135.        In May 2021 there was no buzzer available on the exterior of the store Gio Liquors,

       which would enable someone outside of it to ring it and request attention of a clerk inside

       the store. [Gutierrez’s Dep., Exhibit 7, p. 55, L. 15 – 20]



Dated: January 26, 2024



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                                  CERTIFICATE OF SERVICE


          I certify that on January 26, 2024, I filed the foregoing Plaintiff’s Statement of Material

Facts with the Court via CM/ECF, which caused notice to be served upon all e-filing attorneys of

record.




January 26, 2024

Respectfully submitted,



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